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                                   FOR PUBLICATION

                   UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT


                 UNITED STATES OF AMERICA,               No. 17-30185
                           Plaintiff-Appellee,
                                                         D.C. Nos.
                              v.                   2:12-cr-00016-WFN-6
                                                   2:12-cr-00016-WFN-5
                 JAYDE DILLON EVANS, AKA
                 Jayde D. Evans; BRICE
                 CHRISTIAN DAVIS, AKA Brice               OPINION
                 C. Davis,
                       Defendants-Appellants.

                     Appeal from the United States District Court
                        for the Eastern District of Washington
                    Wm. Fremming Nielsen, District Judge, Presiding

                         Argued and Submitted March 27, 2019
                              San Francisco, California

                                    Filed July 9, 2019

                    Before: Diarmuid F. O’Scannlain, Carlos T. Bea,
                       and Michelle T. Friedland, Circuit Judges.

                             Opinion by Judge O’Scannlain
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                                          SUMMARY *


                                          Criminal Law

                    The panel affirmed the district court’s judgment on
                remand denying a motion by two medical marijuana growers
                to enjoin their federal prosecutions for violations of the
                Controlled Substances Act.

                    In the prior appeal, the panel held that a congressional
                appropriations rider prohibited the Department of Justice
                from spending appropriated funds to prosecute individuals
                who engaged in conduct permitted by state medical
                marijuana laws; and remanded to the district court with
                instructions to hold an evidentiary hearing to determine
                whether the defendants’ conduct was completely authorized
                by state law. On remand, the district court found that the
                defendants were not in strict compliance with Washington’s
                Medical Use of Cannabis Act (MUCA).

                    In this appeal, the panel held that because the
                appropriations rider authorizes the defendants to seek to
                enjoin prosecution, the defendants – not the Government –
                bear the burden of proof regarding whether the state’s
                medical-marijuana laws completely authorized the
                defendants’ conduct.

                    Explaining that this court looks to the state law’s
                substantive authorizations but not to the state’s procedural
                rules that give practical effect to its medical-marijuana
                regime, the panel rejected the defendants’ contention that the

                    *
                      This summary constitutes no part of the opinion of the court. It
                has been prepared by court staff for the convenience of the reader.
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                Government must procure a jury verdict of noncompliance
                in Washington State Court before it can prosecute them for
                their federal crimes.

                    The panel held that the district court correctly refused to
                allow the defendants to assert “common law affirmative
                defenses,” and correctly focused on the defendants’
                compliance with MUCA itself.

                    Affirming the district court’s factual finding that the
                defendants did not strictly comply with MUCA, the panel
                held that the district court did not clearly err in finding that
                the defendants, neither of whom claimed to be a “designated
                provider,” were likewise not “qualified patients.”


                                         COUNSEL

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                                         OPINION

                O’SCANNLAIN, Circuit Judge:

                   We must decide, once again, whether marijuana growers
                may enjoin federal prosecution in a state which has legalized
                medical use.

                                              I

                                              A

                    In 2011, a group of friends decided to grow and to sell
                medical marijuana. Tyler McKinley, Samuel Doyle, and
                Jared Kynaston identified a suitable residential property in
                Spokane County, Washington. McKinley signed the lease
                and the power bill, and Doyle and Kynaston moved into the
                residence to manage the grow. Doyle “definitely . . . was the
                one in charge,” as a former employee later testified, while
                Kynaston was “the smart one on growing pot plants [who]
                knew all the chemistry stuff and everything like that.”

                    Soon enough, Doyle and Kynaston needed help bringing
                the crop to market, so they hired Jayde Evans and Brice
                Davis—the defendants-appellants in this case—to work as
                “trimmers.” Evans and Davis would wait for Kynaston to
                harvest a marijuana plant, then “[s]it there on the couch and
                trim the leaves off.” While the trimmers worked, Kynaston
                would set consumable marijuana on the table, and if “[they]
                wanted to smoke, [they] would smoke.”

                    In November 2011, the burgeoning enterprise ended
                abruptly when federal and state law enforcement officers
                raided the grow. Officers found 562 marijuana plants
                growing in a greenhouse, the garage, and the residence itself.
                Federal prosecutors soon indicted Evans, Davis, Kynaston,
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                Doyle, McKinley, and two other trimmers in the Eastern
                District of Washington for various violations of the
                Controlled Substances Act (“CSA”). See 21 U.S.C. § 821 et
                seq.

                                                   B

                   In 2014, McKinley filed a motion (which Evans and
                Davis, among other defendants, joined) seeking an “order
                dismissing the indictment and/or enjoining the Government
                from taking any further action of any kind in the prosecution
                of this case.” They claimed that Congress enacted an
                appropriations rider that forbade the Department of Justice
                (“DOJ”) from spending money to prosecute them. Section
                538 of the statute reads as follows:

                         None of the funds made available in this Act
                         to the Department of Justice may be used,
                         with respect to [several states, including
                         Washington], to prevent such States from
                         implementing their own State laws that
                         authorize the use, distribution, possession, or
                         cultivation of medical marijuana.

                Consolidated and Further Continuing Appropriations Act,
                2015, Pub. L. No. 113-235, § 538, 128 Stat. 2130, 2217. 1
                The movants argued that, because the State of Washington
                legalized the medical use of marijuana, § 538 prohibited
                DOJ from using appropriated funds to prosecute them. The
                district court denied the motion, and the movants appealed

                    1
                       Congress has reenacted the same provision each year since. See,
                e.g., Consolidated Appropriations Act, 2019, Pub. L. No. 116-6, § 537,
                133 Stat. 13, 138. Because the language in each is materially the same,
                we simply refer to the provision as “§ 538” or “the appropriations rider.”
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                the interlocutory order. We then consolidated such appeal
                with several similar ones arising contemporaneously out of
                the Northern and Eastern Districts of California. See United
                States v. McIntosh, 833 F.3d 1163, 1168–69 & n.1 (9th Cir.
                2016).

                    In McIntosh, which disposed of all the consolidated
                appeals, we vacated the district court’s injunction denial
                order in this case. Id. at 1180. If Congress “expressly
                prohibits DOJ from spending funds on certain actions,” we
                reasoned, then “federal criminal defendants may seek to
                enjoin the expenditure of those funds.” Id. at 1173.
                Interpreting § 538’s text, 2 we concluded that DOJ could not
                spend appropriated funds to prosecute “individuals who
                engaged in conduct permitted by the State Medical
                Marijuana Laws.” Id. at 1177. Nevertheless, because
                prosecution of non-compliant defendants “does not prevent
                the implementation” of such laws, id. at 1178, we stressed
                that defendants would not be able to enjoin their
                prosecutions unless they “strictly complied with all relevant
                conditions imposed by state law on the use, distribution,
                possession, and cultivation of medical marijuana,” id. at
                1179 (emphasis added). Accordingly, we remanded to the
                district court with instructions to hold an “evidentiary
                hearing[] to determine whether [the movants’] conduct was
                completely authorized by state law.” Id.




                    2
                       In McIntosh, we referred to the rider as § 542, but because the
                rider’s text has remained materially the same since that time, our
                holdings remain unchanged.
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                                                  C

                    On remand, the district court held a two-day hearing to
                determine whether Evans and Davis complied with
                Washington’s Medical Use of Cannabis Act (“MUCA”). 3
                See Wash. Rev. Code § 69.51A (2013). Although MUCA
                “does not decriminalize the medical use of cannabis,” it does
                offer an “affirmative defense” to “qualifying patients and
                designated providers.” State v. Reis, 351 P.3d 127, 134
                (Wash. 2015); see also Wash. Rev. Code § 69.51A.043
                (2013) (establishing the defense). Relevant here, a defendant
                asserting such defense must show (1) that he was either a
                “designated provider” or a “qualifying patient,” see id.
                § 69.51A.010 (2013), and (2) that he possessed no more
                marijuana than authorized, see id. § 69.51A.040 (2013).

                    The district court placed the burden of proof on the
                defendants to prove strict compliance with MUCA by a
                preponderance of the evidence. Because Evans and Davis
                exercised no “supervisory powers over the grow,” the
                district court focused on “each individual [d]efendant’s
                compliance with state law.” The court found that the two
                smoked marijuana while trimming, but that each failed to
                demonstrate that he was a “qualifying patient.” Accordingly,
                because Evans and Davis were “not in strict compliance”
                with MUCA, the district court again denied the motion to
                enjoin the prosecutions. For a second time, Evans and Davis
                appeal to this court.




                    3
                      The district court also considered McKinley’s compliance with
                MUCA, but McKinley did not appeal the district court’s order. All of the
                original defendants in this case, except for Evans and Davis, have
                pleaded guilty.
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                                             II

                                             A

                    Evans and Davis initially argue that the district court
                erred because the Government—not the defendants—should
                bear the burden of proof in such hearings. In their view,
                because “having the funds to prosecute an offense is a
                condition precedent to a continued prosecution,” the
                Government “bears the burden to show that the Defendants’
                actions did not” comply with MUCA.

                    Nothing in § 538’s text expressly compels a particular
                burden of proof in such cases or explains who bears that
                burden, but McIntosh itself defeats Evans and Davis’s
                theory. There, we stated that § 538 authorizes defendants to
                “seek to enjoin” the DOJ’s use of funds to prosecute those
                who comply with state medical-marijuana laws. McIntosh,
                833 F.3d at 1173. Generally, the party seeking an injunction
                bears the burden of showing that he is entitled to such a
                remedy. See eBay Inc. v. MercExchange, LLC, 547 U.S. 388,
                391 (2006). In this case, then, the burden falls on Evans and
                Davis because they seek to enjoin the Government’s
                prosecution.

                    We see no good reason to depart from such baseline rule.
                First, the appropriations rider does not amend the CSA to
                impose a new element for federal marijuana crimes. See
                McIntosh, 833 F.3d at 1179 n.5; see also United States v.
                Nixon, 839 F.3d 885, 887–88 (9th Cir. 2016) (rejecting the
                argument that the “appropriations rider suspended the
                Controlled Substances Act”). Thus, the Government need
                not prove Evans’s and Davis’s non-compliance with state
                law beyond a reasonable doubt in order to convict them. See
                Gilmore v. Taylor, 508 U.S. 333, 359 (1993). Second,
                although the Supreme Court has said that different standards
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                of proof sometimes apply where “particularly important
                individual interests or rights are at stake,” Herman &
                MacLean v. Huddleston, 459 U.S. 375, 389 (1983), the
                appropriations rider does not itself exist to protect such
                interests. Instead, § 538 prohibits prosecution of individuals
                only incidentally—because such prosecutions “prevent[] the
                state from giving practical effect to its law providing for non-
                prosecution of individuals who engage in the permitted
                conduct.” McIntosh, 833 F.3d at 1177. Thus, the defendants’
                liberty interests do not counsel in favor of placing the burden
                on the Government.

                    In sum, because § 538 authorizes Evans and Davis to
                seek to enjoin prosecution, they bear the burden of showing
                that they are entitled to such an injunction by persuading the
                court that it is more likely than not that the state’s medical-
                marijuana laws “completely authorized” their conduct. The
                district court did not err in placing the burden on them.

                                               B

                    Evans and Davis next argue that the Government must
                procure a “jury verdict of noncompliance” in Washington
                State Court before it can prosecute them for their federal
                crimes. Because MUCA entitles them to “a jury
                determination as to whether they complied with the State’s
                medical-marijuana laws,” they argue, federal prosecutors
                must obtain the same.

                    McIntosh again forecloses such argument. The
                appellants there argued that § 538 forbade DOJ from
                prosecuting anyone in a state that legalized medical
                marijuana. Importantly, the defendants claimed that § 538’s
                reference to a state’s “implementation” of medical-
                marijuana laws “necessarily involve[d] all aspects of putting
                the law into practical effect, including . . . procedures and
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                processes for determining the outcome of individual cases.”
                McIntosh, 833 F.3d at 1177 (emphasis added). Rejecting
                such argument, we concluded that § 538 referenced only
                “those specific rules of state law that authorize the use,
                distribution, possession, or cultivation of medical
                marijuana.” Id. at 1178 (emphasis added). Thus, we look to
                the state law’s substantive authorizations, not to the
                procedural rules that give practical effect to the state’s
                medical-marijuana regime. In other words, we ask whether
                the defendant has fully complied with the laws that allow the
                use, distribution, possession, or cultivation of medical
                marijuana, not whether he would be entitled to some
                procedure if the state, rather than the federal government,
                were prosecuting him in its courts. We are satisfied that
                Washington’s procedural rules—including its jury rules—
                should not be imported into § 538.

                                              C

                    Evans and Davis further argue that the district court erred
                because it refused to allow them to assert “common law
                affirmative defenses” to show that the Government may not
                prosecute them for violating the CSA. But McIntosh held
                that § 538 prohibits DOJ from prosecuting those who
                “strictly comply” with those “specific rules of state law that
                authorize” medical marijuana. Id. (emphasis added). Thus,
                the question under § 538 is whether the defendant’s conduct
                is “completely authorized” by the state’s laws authorizing
                the use, distribution, possession, or cultivation of
                marijuana—in this case, MUCA. Id. at 1179. The defenses
                that Evans and Davis wish to assert (e.g., “entrapment by
                estoppel” and “reliance upon advice of counsel”) do not arise
                from MUCA itself, nor do they bear on whether Washington
                expressly authorized the use of medical marijuana. Evans
                and Davis may not resort to such common-law defenses to
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                show that MUCA authorizes their conduct, and the district
                court correctly focused on their compliance with MUCA
                itself.

                                              III

                    Finally, Evans and Davis challenge the district court’s
                factual finding that they did not “strictly comply” with
                MUCA. Although we review a district court’s interpretation
                of state law de novo, Garmon v. County of Los Angeles,
                828 F.3d 837, 842 (9th Cir. 2016), when the district court’s
                determination turns upon factual findings, we review for
                clear error, United States v. Kent, 649 F.3d 906, 912 (9th Cir.
                2011).

                    Under MUCA, one who uses or possesses marijuana
                must show that he is either a “qualifying patient” or a
                “designated provider” to assert the affirmative defense.
                Wash. Rev. Code § 69.51A.043 (2013). Both defendants
                used marijuana from the grow while trimming, and neither
                claims to be a “designated provider.” Accordingly, each
                must rely on proving that he is a “qualifying patient.”
                Simplifying MUCA’s definition somewhat, a qualifying
                patient is one who has been diagnosed with a “terminal or
                debilitating medical condition,” informed by a “health care
                professional about the risks and benefits of the medical use
                of marijuana,” and “advised by that health care professional
                that [the person] may benefit from the medical use of
                marijuana.” Wash. Rev. Code § 69.51A.010(4) (2013).

                    The district court found that Evans and Davis were not
                qualifying patients, and we agree. During the hearing,
                neither defendant introduced a “green card” (i.e., a card
                indicating that a doctor recommended marijuana usage), and
                neither called a physician witness to testify to prescribing
                marijuana to Evans or Davis. Although Evans claimed that
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                he had a “marijuana authorization card” that was “signed by
                a doctor,” he did not produce such card until after the district
                court had conducted its hearing. In any event, Evans also
                admitted that his prescription for medical marijuana was for
                “anxiety,” which is not a “[t]erminal or debilitating medical
                condition” under MUCA. Id. § 69.51A.010(6) (2013); see
                also State v. Fry, 228 P.3d 1, 7 (Wash. 2010) (lead opinion)
                (stating that “anxiety” is not a “debilitating medical
                condition”). The district court did not clearly err in finding
                that Evans and Davis were not “qualifying patients.” See
                United States v. McTiernan, 695 F.3d 882, 887 (9th Cir.
                2012).

                                              IV

                     The judgment of the district court is AFFIRMED.
